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                                 Volume 1, Pages 1-46

                                 Exhibit: 1

           IN THE UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF MASSACHUSETTS

           * * * * * * * * * * * * * * * * * *

 DAVID SETH WORMAN, et al.,

                       Plaintiffs,

 vs.

 CHARLES D. BAKER, in his official

 capacity as Governor of the

 Commonwealth of Massachusetts, et al.,

                       Defendants

 * * * * * * * * * * * * * * * * * *

   Rule 30(b)(6) DEPOSITION OF EXECUTIVE OFFICE OF

 PUBLIC SAFETY AND SECURITY (by Michaela Dunne) and

                  MICHAELA DUNNE, Individually

          Wednesday, August 30, 2017, 1:06 p.m.

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                             I N D E X



                          EXAMINATIONS

  MICHAELA DUNNE

            MR. NARDONE                                  5



                         EXHIBITS MARKED

  1               Deposition notice                                4



 Exhibits returned to Attorney Nardone




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 1    Commonwealth.     So it's simply stored in there for

 2    access by law enforcement.

 3         Q.   So law enforcement has access to that

 4    without going through you, necessarily?

 5         A.   Correct.

 6         Q.   When transaction data are sent to the

 7    Firearms Records Bureau, is there any review that is

 8    done when it is received to ensure either that it's

 9    complete or that it's accurate or that it's a lawful

10    transfer, anything like that?

11         A.   No.

12         Q.   So it is literally just taken and put into

13    the database.

14         A.   Correct.

15         Q.   Does the Firearms Records Bureau or any

16    other part of the EOPSS routinely audit the records?

17         A.   No.

18         Q.   If a prosecuting or investigating agency

19    were to request it from you, would you do that?

20         A.   Yes.

21         Q.   Are you able to sort the data to determine

22    whether or not there are certain number of, say,

23    handguns?

24         A.   Yes.



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 1         Q.    Are you able to do that with respect to

 2    assault weapons?

 3         A.    No.

 4         Q.    Why not?

 5         A.    The assault weapons -- so in Massachusetts

 6    there are a certain number of assault weapons that

 7    are enumerated in the statute.             So by that

 8    definition we would be able to look at the make and

 9    model and presume that those are assault weapons

10    just by the fact that they're enumerated in the

11    statute.     Any other firearm that could be considered

12    an assault weapon under the Federal assault weapons

13    definition we wouldn't be able to tell, because we'd

14    have to physically inspect the firearm.

15         Q.    Okay.   So it's fair to say that the records

16    that are kept by the Firearms Records Bureau slash

17    EOPSS wouldn't allow for a determination of the

18    number of assault weapons in Massachusetts.

19         A.    Correct.

20         Q.    Now, for when we have individual sales,

21    what data is transferred for that?

22         A.    The same data is transmitted as it would be

23    for a gun shop, except the buyer and seller, it

24    would be all of their information -- so the name,



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 1    have that would be responsive to this question.

 2          Q.   If I could turn your attention to a copy of

 3    the interrogatory responses, which are marked as

 4    EOPSS No. 2, and if I could turn your attention to

 5    Interrogatory Response No. 9.              This interrogatory

 6    states, "Identify any person or persons responsible

 7    for reviewing, processing, approving, and/or

 8    maintaining records of Massachusetts firearm

 9    transfers, sales, and registrations, including, but

10    not limited to, transfers, sales, and registrations

11    of firearms occurring after the enactment of the

12    challenged laws but before the issuance of the

13    notice."     After the objections that are listed the

14    response is that you would be the only individual

15    that reviews firearm transfers, sales, and

16    registrations to the extent they're in a database.

17                     MR. PORTER:    Objection.       Could you read

18    the answer verbatim, please, rather than paraphrase

19    it?

20          Q.   "The FRB through Ms. Dunne 'reviews'

21    firearm transfers, sales, and registrations only to

22    the extent that she maintains the database in which

23    these records are stored and retrieves records from

24    the database."



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 1                     MR. PORTER:    Could we have the sentence

 2    before that, please.

 3         Q.   "The Secretary further states that no one

 4    within EOPSS or the FRB processes or approves

 5    firearm transfers, sales, and registrations."

 6                     Is it accurate that you were the

 7    individual who reviews firearms transfers, sales,

 8    and registrations?

 9         A.   I do not review them.

10                     MR. PORTER:    Could we note for the

11    record that the word "reviews" in the interrogatory

12    response on Page 15 is in quotation marks.

13                     MR. NARDONE:    That is fine.     The word

14    "reviews" is there.       I'm literally just reading your

15    response.

16                     MR. PORTER:    Yes.   I just wanted to note

17    that.

18         Q.   Does anyone review these records?

19         A.   No.

20         Q.   So you would say that answer is just not

21    accurate?

22                     MR. PORTER:    Objection.    No, no, no.

23    Objection.       I didn't hear that in her answer.

24                     MR. NARDONE:    She can answer.      You don't



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 1    need to coach her.

 2                     MR. PORTER:     I would just ask you to

 3    read the whole thing.

 4                     THE WITNESS:     Sure.

 5         A.   I would say that there is not any one

 6    person who is actually responsible for reviewing,

 7    processing, approving, or maintaining the records.

 8    We maintain electronic databases, and we only see

 9    the records if prompted.

10                     So while I would be considered the

11    keeper of the records and the Firearms Records

12    Bureau by statute is the keeper of the records, we

13    don't have an active -- we don't have an active

14    review process, because everything is simply

15    maintained transactionally in a database.

16         Q.   So no one is involved with actively

17    reviewing the --

18         A.   Correct.

19         Q.   If you could turn your attention to

20    Interrogatory No. 13.          You might want to take a

21    moment to read it again.

22         A.   Okay.

23         Q.   The interrogatory states, "State the basis

24    for your assertion that Massachusetts did not


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